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AO 242 (Rev. 09/17} Petition tora Writ of Habeas Corpus Under 28 U.S.C. $2241 Thi: 4. \ ui 1
fe UNERED STATES DISTRICT COURT: SSR Re

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es 5 Case No. Bi 5) Crear Ft - EB Pp
) . (Supplied one Clerk of Court)
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yada) ) Looky, \ C sashes /

Respondent
(name of warden or.quthorized person having custody of, eters ’)

PETITION FOR A WRIT OF HABEAS CORPUS” UNDER 28 U.S.C. § 2241 pe!

Personal Tuiformilition’

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* (b):.O Other nanies’ Youh have_ used: Se s BAC Si _ DANY
aC “Place “of confinement: Lae _
| aye Nameofinstitution: |; Bagant as Use c, silat

@). aediess
(ae Gage m - sr em wi onthe *thit
() Your identification ‘Gniter ANH tt qye= “ay ¢ pre ee
3... Ave yyou! currently: being held on ordets by: eae so reese oh tp eh :
‘| PFederal authotities © State authorities |, ; o Other’ = ~ explain 4 aise ee
4. Are you currently:

OA pretrial. detainee (waiting for trial on criminal charges)
Serving a sentence (incarceration, parole, probation, etc.). after having. been convicted. ofa crime

If you: are curréntly serving a sentence, provide:
(a) Name and location of court that sentenced you:

(b) Docket number of criminal case:

(c) Date of sentencing: Bf tt _

OBeing held on an immigration, charge
J

Sa Other (explain): \ a Aut Ce AN
ee ee

Decision or Action You Are Challenging

5. What are you challenging in this petition:
OC How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,

. revocation or calculation of good time credits)

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 - Tbs { \at4
PETITION F FOR: a AREA S. GORFUS UNDER 28 USS. Cc 2 2241

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cetera jaa Ee

I. Who Should Use This Form. You should use this form if
you are a federal prisoner and you wish to challenge the way your sentence is being carried out (for
example, you claim that the Bureau of Prisons miscalculated your sentence or failed to properly award
good time credits);

, you are in federal or state custody because of something other than a judgment of conviction (for
example, you are in pretrial detention or are awaiting extradition); or
. you are alleging that you are illegally detained in immigration custody.
2. Who Should Not Use This Form. You shéiild not use this form if

you are challenging the validity of a federal judgment of conviction and sentence (these challenges are
generally raised in a motion under 28 U.S.C. § 2255);

: you are challenging the validity of a state judgment of conviction and sentence (these challenges are
generally raised in a petition under 28 U.S.C. § 2254},0r

° you are challenging a final order of removal in an j
raised i ina petition ir review" rairectly witha

Hion:case (these. challenges. are generally ©
ere of Appeals).

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3. Preparing the Petitian: “thie petition inst bet tpelior i ui
penalty of perjury. A false statement may ead tox |

. Wou may submit addjtional pages | if i necessary. : Ifyou.
‘it additional or corgect information... ify You. want to
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setion ofthe patition ts | age sontinued. All

4. Answer all the questions. You do not need tacite
, do not fill out the form. properly, you.will be asked to.
submit any legal arguments, 1g uu must submit the if a:
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you attach additional pages, number the-fages and ident ition a!

filings must be submitted on paper: ‘Sized 8% by: aL iy aches Do not ustrthern ack oF atiy} pa gi

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iyou: nitist’seii@'to the court a ‘copy of the decisions you are
in edy. forms filed. in Your CASE: 5 .

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5. Supporting Documents: In addition to your petitic
challenging and a copy. of any. briefs@eiadministrati

6. Required Filing Fee!"

pay the filing fee, yo list: Fai, to sroceed in-f orm pauperis ~ that j HS, a5, a eso who
cannot pay the filing fee — by ; subiitlingthe' nt Se Sait F requires. aR np
. 1" a“
7..° Submitting Docuitiedits to te Court: ‘Mail’ your patition and copies to the clerk ofthe; United States

“+ District Court for the district and divisionin whith yau-are confingd. For a list of districts apd divisions, see 28
U.S.C. §§ 81-131. All copies must: be. identical:tayphéscripinials Copies niay: be‘legibly: Hed Obr NH" yee

If you wait 4 nie alae copy’ tie ph you ‘miuSt Sngtose ana additional copy of the petition and ask the
court to file-stamp it ind-retumn itt you, Obert 2
Mees ite. eis Eh: ° hel ~
8. Change of Address:~You must: immediately no wie court in writing ‘of: any y change of address. If you do not,

the court may dismiss your case. .

SAAT TER Ss wh ined Wiedbeh 0 Eas

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 lsd \ XadG

|
“SS Pretrial detention

OImmigration detention

C Detainer

OThe validity of your conviction or sentence as imposed (for example, sentence beyond ‘the statutory
maximum or improperly calculated under the sentencing guidelines)

O Disciplinary proceedings

| DOther expan lm o » Moot aby & Ans ut ugllsoaal, . Ti 24Qeal that

Ar
6. | Provide more information about the decision or action you are challenging: —
. (a) Name and location of the agency or court: We Conn Ws \ Me yak OW) Tayaal ben

OY “Taodictment, rh nL, dior} “So, pp \y i? Calas ot Law Chistes)

' (b) Docket number, case numbet, or opinion r number | _
| (c) Decision or action you are challenging gor disciplinary proceedings, specify the penalties imposed

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rlawamas Rralsee \ “askin g ok \ welt Sub a
(d) Date of thé-decision or action: 3 T{ JRE

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‘Your Earlier “a io of the Decision or Action ©

7. First appeal
| Did you appeal thedecision, file a grievance, or seek ait’ administrative. remedy?" oe
OYes INo

_ |(a) Tf “Yes, 7 provide: “Q
(1) Name of the authority, agency, or cotirt?: wba

(2) Date of filing: . as >
(3) Docket number, case number, or r opinion number:
(4) Result:
(5) Date of result: . 4
(6) Issues raised:
-_ AK

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: . 0,” explain why you did not appeal: at “4K 1p ERT dy al
Lays wok Wee tg “bi fis Soa Shae bes WA
O Wats gautity Va Ponty Bosgan “1 PamocaineS |b “Tn dined e ~ Viteat
8. [Second appeal oS Dahes } Coerci ow)
After the first. | appeal, did you file.a second appeal to a higher-authority, agency, or court? .
Yes No

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Case 3:21-cv-00278-TSL-RPM Document1 Filed 04/20/21 Page4of9 cet bos
AO 242 (Rev. 09/1 7) Petition fora Wet of Habeas Coxpus Under 28 U.S.C. § 2241 to Exh vt ul 4 a
eee (a)_LEYe8,"* provide: - . cee en _
(1) -Name-of-the-authority, agency,or court: “ ceeeern ps eet tees
(2) Date of filing: ~
(3) Docket number, case number, or opinion number:
(4) Result:
G) Date of result: °
(6) Issues raised: _.
- te wed we. deetmee we ates eee te eee eeega eimweese Meee ee ee ee gee eee ela ewe renee ed pate mes teeny nee -
(b) If you answered “‘No,” explain why you did not file a second appeal: WJ
’ q } ‘ _—_— \ “

a _ Thirdappeal we ee ~
ues se “After The second ea ais your file wa ape ower sT, apeniey; or Foon? =
Yes . tha. Sane wags thug 5 Aye ce us We !
(a) ‘If“Yes,” provide: is.
(1) ‘Name of. thecauthority, agensayier GOur: Pe ie te ont stant»
“ey ‘Date of filing: - .
GY. Docket: number, case number, or opinion number: So atthe:
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° “(8y Tats ‘Ofresult. 0S oo
"(6)" Issues raised: 8 op ateten eg cayelnees 8
ob): tye ou afiswered “NQX explain ee did-not-file.a third-appeal: . yw . oa 5 1 re he
ox) Colac a} ORs sl he ora bivey Olah Ratt
oo os Rhee is Ss Osho Ona GH $0 is Contin in Retin
me FOee7 ~—weaiomrameer USC §2255° Tn i ee ee re
SS this | petition, are you challenging the validity of your conviction or sentence as imposed?
Yes ee No . , . .
If“Yes,” answer the following: CESS ieee .
(a) Have you.dltéady filed 4 motion ‘under 28-U.S.C..§-22'55 that challenged: this. conviction or stitehee?
“01 Yes SBove

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(Rev. 09/1 7) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 Tale (\ Gad §

If “Yes,” provide:

(1) Name of court: Choy, i}. Coueshouet

(2) Case number: , _

(3) Date of filing:

(4) Result:
. (5) Date of result:

(6) tees aseds Th ae malik Tung hile aac EES

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Ike TC

' (b)

sentence?
O Yes Ng No

If “Yes,” provide:
(1) Name of court:
(2) Case number: te
(3) Date of filing: . os
(4) Resuilt:.
. (5) Date of result: -
(6): ‘ssues raised:. -

(c) Explain why the remedy under 28 U.S.C. § 2255,is inadequate g ineffgctive to ‘challenge y youre
conviction or sentence: Hor h Pee exh este) sks ol wdal
N y = a
rackets BOA AD ad thea, 6 Mita! Count | 1 ats won
\pv ot~2, Ova iA \\ “Suslon - NOD Vs : XT) C PD:

Appeals of immigration proceedings
Does this case‘concem immigration proceedings?

‘Yes No AMG t
___ I£Yes,” provide:
(a) Date you were taken into immigration custody:
(b) Date of the removal or reinstatement order:
(c) Did you file an appeal with the Board of Immigration Appeals?
O Yes O No

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AQ 242 (Rev. 09/17) Petition fora Writ of Habeas Corpus Under 28 U.S.C. § 2241 _.
If “Yes,” provide: . _.

.¢L).. Date.of filing:
(2) Case number:
(3) Result:
(4) Date of result:
(5) Issues raised:

oo AD _Did you. appeal the decision to the United States Court of Appeals? oe. _.
— pete “igre ae wrote atee 3 NG ’ aie ee meee bares re nee oe . a

(1) ‘Name of court:

(2) Date of filing: .

(4). Results: ee

OF Dateatresalt! eee moSTe nti. ear TERETE SRR SRE ee te RMT ee
-. (6) Issues raised: mo oo.

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epi ype . coy TTI Ll. LCD DEL Tortie © a :
-Other.than the appeals 9 you listed above, have yéu filed any other petition, application, or motion about the issues

. ‘raised j in this p peti oo. Woo oe te i
Bho gs 5h eT BRET TET CE UE Brat
ovens Nee eee
: ovat eye? Sb Ae

ES "ei," provide:
eae {a)Kind.o of: -petition,. ‘motion, or: application:
“@): Name of the authority, agency,-or-court:

a Dae of filing:
.. (4) Déckéet number, case numibér, or opinion number: -
-(e) Result: wpceptnepeettep ot
-—-€f)-Date-ofresult:-- wetces eee ne pees cece nies cot ee ee npr tree wae - .
° “(py tssues raised: , we ees ™ 7

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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. § 2241 eal » ht

Grounds for Your Challenge in This Petition

13. State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

GROUND ONE: 9 Dao Meri insta Natasa, ahs \nes Capos
Ms > AX 5 . OAc
Taew Wadious OY ye SS ee Oe ft
Nisha C Wade Xa LRasuH OL Mo Challe’ S$ AS oe why} uA YW)

= Supporting facts (8d brief, Do not cite cases or taw.):

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Woh ANd oss Yoo My as Na Choos hie \ \ we ie y
Uotoacivhuliacs | iat ada Weds AL Gaekins WO

(b) Did you present Ground One in all appeals that were available to you?
Yes 8} No

GROUND TWo:

Peer
woe Lak deny

(a) Supporting facts (Be brief. Do not cite cases or law.):

(b) Did you present ‘Ground Two inall appeals that were available to you?
OYes ONo

GROUND THREE:

1

(a) Supporting facts (Be brief Do not cite cases or law.):

!
'

|
|

(b) Did you present Ground Three i in all appeals that were available to you?
(Yes ONo

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Case 3:21-cv-00278-TSL-RPM Document1 Filed 04/20/21 Page 8of9 cee,

AO 242 (Rev. OONt7) Petition tora Weit of Habeas Corpus Under 28.U.5.C. $224h oe Eyihh Gb§

GRO UND FOUR:

(a) Supporting facts (Be brief Do not cite cases or law.):

(b) Did you present Ground Four in all appeals that were available.to you?

‘OYes ‘No
14. If there are any g grounds that you did not t present i in nal appeals that v were ¢ available to you, explain why you did
not: oT rans

von . L TT oe

_Request. for Relief

‘15, State exactly what you want the court to do: Nove, by VA | Contitads ov y _ \mebas of
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AO 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28 U.S.C. $224] Syke \ Jol)

Declaration Under Penalty Of Perjury

If you are incarcerated, on what date did you place this petition in the prison mail system:

I declare under penalty of perjury that I am the petitioner, | have read this petition or had it read to me, and the

information in this petition is true and correct. | understand that a false statement of a material fact may serve as the basis
for prosecution for perjury.

ow NMP Ray Wwe Bay

BRA RICHARD CONS ERY eta clean

| Signature of Aitomey or other authorized person, if any

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